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 8                                IN THE UNITED STATES DISTRICT COURT
 9                             FOR THE EASTERN DISTRICT OF CALIFORNIA
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11   ROGER McINTOSH,                                                CASE NO. CV F 07-1080 LJO GSA
12                             Plaintiff,                           ORDER ON DEFENDANTS’ MOTIONS TO
                                                                    DENY PLAINTIFF’S COSTS
13           vs.                                                    (Docs. 408, 409.)
14   NORTHERN CALIFORNIA
     UNIVERSAL ENTERPRISES,
15   INC., et al,
16                             Defendants.
                                                        /
17
18                                                   INTRODUCTION
19           Defendants Northern California Universal Enterprises Company (“NCUE”), Lotus
20   Developments, LP (“Lotus”) and Dennis DeWalt, Inc. (“DeWalt”)1 seek to deny plaintiff Roger
21   McIntosh’s (“Mr. McIntosh’s”) requested $17,352.78 costs. Mr. McIntosh contends that he is entitled
22   to costs as the prevailing party. This Court considered defendants’ objections to Mr. McIntosh’s costs
23   on the record and VACATES the September 2, 2010 hearing erroneously set by NCUE and Lotus.2 For
24   the reasons discussed below, this Court GRANTS Mr. McIntosh $17,081.78 costs against defendants.
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                      NCUE, Lotus and DeW alt will be referred to collectively as “defendants.”

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                     Counsel for NCUE and Lotus continues to disobey this Court’s Local Rules, in this instance, by filing a
     premature motion to review costs prior to the clerk taxing costs. Nonetheless, to expedite a ruling on costs, this Court
28   considers NCUE and Lotus’ motion and DeW alt’s objections.

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 1                                                 BACKGROUND
 2                                                      Summary
 3           This action arises from alleged infringing use of Mr. McIntosh’s tentative map and improvement
 4   plans to develop 33.51 acres as a subdivision in the City of Wasco (“Wasco”).3 Mr. McIntosh, a
 5   Bakersfield civil engineer, prepared for subdivision development a tentative map and improvement plans
 6   (streets, sidewalks, curbs, gutters, storm drains, sewer, water and utilities).
 7           Mr. McIntosh registered his copyright on his map and improvement plans on February 22, 2007.
 8   Mr. McIntosh proceeded on this third-amended complaint (“TAC”) against defendants and Wasco to
 9   allege “Defendants’ construction of the Subdivision is based on landscape and subdivision designs
10   substantially similar to the subdivision and landscape design conceived and created by McIntosh that
11   is represented in the plans and that is the subject of Copyright Registration Certificate No. VAU-721-
12   180.” The TAC alleges that the “copying of the Plans by defendants constitutes infringement of
13   McIntosh’s registered copyright and the technical drawings depicted in the Plans, in violation of the
14   Copyright Act.”
15                                                    Jury Verdict
16           This Court conducted a jury trial on March 1-4 and 8-9, 2010. With its verdict, the jury found
17   that:
18           1.     Defendants and Wasco copied Mr. McIntosh’s map and that only Wasco had copied Mr.
19                  McIntosh’s improvement plans;
20           2.     NCUE, Lotus and Wasco profited directly from copying of either the map or
21                  improvement plans done by any of the other defendants;
22           3.     NCUE, Lotus and Wasco failed to exercise their right and ability to supervise or control
23                  the other defendants’ copying of the map or improvement plans;
24           4.     Mr. McIntosh is entitled to $1.4 million in actual damages;
25           5.     NCUE and Lotus each profited $1,992,107.50 from their respective infringing activity;
26           6.     Wasco profited $1.5 million from its infringing activity;
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28           3
                    W asco is a former a defendant and settled with Mr. McIntosh during the pendency of post-trial motions.

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 1             7.     DeWalt did not profit from its infringing activity; and
 2             8.     NCUE and Lotus acted as partners or practically partners in committing infringing
 3                    activity.
 4             In total, the jury award Mr. McIntosh $6,884,215
 5                                                 Post-Trial Matters
 6             With post-trial motions, pending Wasco reached a $750,000 good faith settlement with Mr.
 7   McIntosh whereby $150,000 was apportioned to actual damages and $600,000 to Wasco’s profits.
 8             This Court’s July 7, 2010 order granted defendants a new trial on actual damages and infringing
 9   profits unless Mr. McIntosh accepted an amended judgment of $161,500 for Mr. McIntosh’s actual
10   damages and $0 for infringing profits. Mr. McIntosh accepted such an amended judgment which was
11   entered on July 23, 2010.
12                                            Mr. McIntosh’s Bill Of Costs
13             On July 27, 2010, Mr. McIntosh filed his revised bill of costs by which he claims to seek
14   $17,352.78 costs only as to defendants and not Wasco. The costs comprise:
15             1.     $120 for filing fees;
16             2.     $1,762 for subpoena and service fees;
17             3.     $1,806.30 for witness fees;
18             4.     $10,507.95 for deposition transcripts; and
19             5.     $3,156.53 for copy costs.
20                                                   DISCUSSION
21                                            Standards For Cost Awards
22             F.R.Civ.P. 54(d)(1) provides in part: “Unless a federal statute, these rules, or a court order
23   provides otherwise, costs – other that attorney’s fees – should be allowed to the prevailing party.”
24   F.R.Civ.P. 54(d)(1) “generally grants a federal court discretion to refuse to tax costs in favor of the
25   prevailing party.” Crawford Fitting Co. v. J. T. Gibbons, Inc., 482 U.S. 437, 442, 107 S.Ct. 2494
26   (1987).
27             F.R.Civ.P. 54(d)(1) “creates a presumption in favor of awarding costs to a prevailing party, but
28   vests in the district court discretion to refuse to award costs.” Assoc. of Mexican-American Educators

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 1   v. State of California, 231 F.3d 572, 591 (9th Cir. 2000); see Amarel v. Connell, 102 F.3d 1494, 1523
 2   (9th Cir. 1996). A district court’s discretion “is not unlimited” to require the district court to “specify
 3   reasons” for refusal to award costs. Mexican-American Educators, 231 F.3d at 591. The Ninth Circuit
 4   Court of Appeals has denied costs to a prevailing party based on the losing party’s “limited financial
 5   resources” or the prevailing party’s “misconduct.” Mexican-American Educators, 231 F.3d at 592
 6   (citing cases).
 7           Other circuits have addressed other factors to deny costs to the prevailing party, such as: (1) the
 8   issues in the case were close and difficult; (2) the prevailing party’s recovery was nominal or partial; and
 9   (3) the losing party litigated in good faith. Mexican-American Educators, 231 F.3d at 592, n. 15; see
10   Champion Produce, Inc. v. Ruby Robinson Co., Inc., 342 F.3d 1016, 1023 (9th Cir. 2003) (in breach of
11   contract actions, prevailing party’s recovery of substantially less damages than sought may support
12   discretion to deny costs).
13           Defendants seek to deny all of Mr. McIntosh’s costs given what they appear to characterize as
14   his mixed success. DeWalt notes that the jury found that it had infringed on only Mr. McIntosh’s
15   tentative map and had not profited from its infringing activity. DeWalt contends that “both parties
16   prevailed on certain claims.” NCUE and Lotus advocate a denial of costs based on Mr. McIntosh’s
17   “meager, near meaningless recovery obtained from them” and Mr. McIntosh’s “windfall” from
18   settlement with Wasco. NCUE and Lotus conclude that Mr. McIntosh “has already been over
19   compensated and should not be awarded costs on top.”
20           In the absence of complete denial of costs, defendants seek to allocate a portion of the costs to
21   Wasco. NCUE and Lotus note that Wasco “was found to have violated Plaintiff’s copyright to a
22   significantly greater degree than the other three defendants.” DeWalt asks this Court to “impute into the
23   [Wasco] settlement a reasonable amount of costs that would have been awarded” in Mr. McIntosh’s
24   favor and against Wasco. DeWalt further advocates to allocate costs to NCUE and Lotus given their
25   “substantial profits” and DeWalt’s loss on the subdivision project.
26           Mr. McIntosh responds that NCUE and Lotus seek an apportionment between the parties “which
27   was never made by the jury.” Mr. McIntosh characterizes as “irrelevant” distinguishing costs between
28   the parties. Mr. McIntosh accuses Northern and Lotus of an “arbitrary” division of costs “which would

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 1   have been incurred regardless of whether or not Wasco was a party.”
 2          Defendants offer little which is meaningful to overcome the presumption to award costs to Mr.
 3   McIntosh as prevailing party. Although this Court substantially discounted the jury’s award, Mr.
 4   McIntosh established defendants’ infringing activity and copyright liability. Mr. McIntosh prevailed on
 5   most of his claims. Defendants provide no binding authority to support a complete denial of costs or
 6   a discount based on the Wasco settlement. Mr. McIntosh is the prevailing party entitled to costs.
 7          Short of a complete denial of costs, defendants nitpick without substance at particular costs.
 8   Costs incurred prior to DeWalt’s appearance address the overall litigation to which DeWalt was
 9   subjected to in the end. DeWalt’s only meritorious objections are $166 costs related to improper
10   defendant DeWalt CM, Inc. and $105 costs for excluded witness Heath James. NCUE and Lotus’
11   nitpickings are indecipherable. As such, Mr. McIntosh is entitled to $17,081.78 costs.
12                                      CONCLUSION AND ORDER
13          For the reasons discussed above, this Court GRANTS Mr. McIntosh $17,081.78 costs against
14   defendants (NCUE, Lotus and DeWalt) jointly and severally.
15          This Court concludes that this award of costs is the final matter at this stage of this litigation.
16   Short of remand from an appeal, this Court can conceive of not further matters which would involve this
17   Court. Further law and motion activity, including an attempt to recover sanctions, will not be well
18   received by this Court unless well supported and for legitimate purposes to serve the interests of the
19   parties, not counsel.
20          IT IS SO ORDERED.
21   Dated:     August 23, 2010                       /s/ Lawrence J. O'Neill
     66h44d                                       UNITED STATES DISTRICT JUDGE
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